                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:13-00209
                                                  )      JUDGE CAMPBELL
JUAN COLLAZO                                      )


                                           ORDER

         The hearing, currently set for June 18, 2014, at 9:00 a.m to consider Defendant Juan

Collazo’s Motion to Suppress Evidence (Docket No. 53) is RESCHEDULED for June 18, 2014, at

10:00 a.m.

         It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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